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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF TEXAS

                              TEXARKANA DIVISION

   DISC LINK CORPORATION,              '
                                       '
         Plaintiff,                    '
                                       '
                                       '
   v.                                  '
                                       '    CIVIL ACTION NO. 5:07-cv-58
   ORACLE CORPORATION, SAP             '
   AMERICA, INC. d/b/a SAP             '      JURY TRIAL DEMANDED
   AMERICAS, SAP AG, BENTLEY           '
   SYSTEMS, INC., SPSS, INC.,          '
   SOLIDWORKS CORPORATION,             '
   CMS PRODUCTS, INC., SONIC           '
   SOLUTIONS, COREL                    '
                                       '
   CORPORATION, COREL, INC.,           '
   MISYS PLC, ADTRAN, INC.,            '
   EASTMAN KODAK COMPANY, CA,          '
   INC., UGS CORP., NUANCE             '
   COMMUNICATIONS, INC., KOFAX         '
   IMAGE PRODUCTS, INC., BUSINESS      '
   OBJECTS AMERICAS, BUSINESS          '
   OBJECTS SA, TREND MICRO             '
   INCORPORATED, TREND MICRO           '
                                       '
   INCORPORATED (CALIFORNIA
                                       '
   CORPORATION), EMC                   '
   CORPORATION, BORLAND                '
   SOFTWARE CORPORATION,               '
   NOVELL, INC., PALO ALTO             '
   SOFTWARE, INC., ALTERA              '
   CORPORATION,                        '
   COMPUWARE CORPORATION and           '
   AVID TECHNOLOGY, INC.,

         Defendants.



                             EXHIBIT A
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